             Case 22-33553 Document 672 Filed in TXSB on 05/17/24 Page 1 of 6




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                   )
    In re:                                                         ) Chapter 11
                                                                   )
    ALEXANDER E. JONES,                                            ) Case No. 22-33553 (CML)
                                                                   )
                            Debtor.                                )
                                                                   )

                         NOTICE REGARDING THE CREDITORS’ PLAN

             1.   On April 22, 2024, this Court held a status conference (the “April Status

Conference”) to address various issues related to resolution of the above-captioned chapter 11 case

(the “Chapter 11 Case”), which has now been pending for well over a year, as well as resolution

of the related subchapter V case commenced by Free Speech Systems (“FSS” and such case, the

“FSS Case”), which has been pending for almost two years. During the April Status Conference,

the Court expressed its unequivocal expectation that both this Chapter 11 Case and the FSS Case

would be brought to conclusion expeditiously and raised, in particular, the recent and highly

relevant decision in In re GFS Industries, pursuant to which the Fifth Circuit held that the

exceptions to discharge applicable to an individual chapter 11 debtor under Bankruptcy Code

section 523(a) apply with equal force to a corporate subchapter V debtor.1 Parties then discussed

with the Court a consensual two-week “pause” of confirmation related deadlines for the Debtor’s

and Creditor Parties’ competing plans2 in order to facilitate discussions about how best to conclude




1
  See Transcript of April 22, 2024 Status Conference at 7:4-8:19; Avion Funding L.L.C. v. GFS Industries, L.L.C. (In
re GFS Industries, L.L.C.), No. 23-50237 [ECF No. 89] (5th Cir. April 17, 2024).
2
  On January 22, 2024, the Official Committee of Unsecured Creditors (the “UCC”), the Connecticut Plaintiffs and
the Texas Plaintiffs (collectively, the “Creditor Parties”) filed the Creditors’ Non-Uniform Individual Chapter 11
Plan of Liquidation for Alexander E. Jones [ECF No. 562] (as may be amended, the “Creditors’ Plan”). On January
29, 2024, Alexander E. Jones (“Jones” or the “Debtor”) filed the Debtor’s Amended Plan of Reorganization [ECF
No. 591] (as may be amended, the “Jones Plan”).
         Case 22-33553 Document 672 Filed in TXSB on 05/17/24 Page 2 of 6




the Chapter 11 Case following the unsuccessful settlement conference held on April 17 and 18,

2024 before the Honorable Edward L. Morris, whom this Court appointed to oversee discussions

among the parties.3

         2.       Over the course of the last three weeks, the Creditor Parties have done exactly what

they represented to this Court that they would—they have engaged in good faith negotiations with

the Debtor, FSS, the Subchapter V Trustee and various other parties in interest to agree upon an

appropriate means to conclude the Chapter 11 Case.                       While these discussions have been

constructive, the parties have been unable to reach consensus. Nor has the Debtor yet informed

the Creditor Parties how it intends to bring this case to conclusion in the absence of a consensual

chapter 11 plan, including whether it intends to seek conversion, dismissal or some other resolution

at the hearing previously set for June 14, 2024 (the “June 14 Hearing”).

         3.       There can be little dispute that absent agreement on the terms of a plan of

reorganization that garners adequate creditor support, there are three available options to bring this

Chapter 11 Case to conclusion: (i) a liquidating chapter 11 plan; (ii) conversion of this case to a

case under chapter 7; or (iii) dismissal. The Creditor Parties continue to believe—as they did when

they first filed the Creditors’ Plan—that an orderly liquidation of the Debtor’s estate pursuant to a

plan that preserves valuable estate claims and causes of action and provides a streamlined process

for the prosecution of over a billion dollars in nondischargeable claims is in the best interests of

the Debtors’ estate and creditors. Indeed, each and every one of the Debtor’s creditors that voted

on the Creditors’ Plan agrees.4 Over the past few weeks, the Creditor Parties have worked in


3
  See Order Appointing Mediator [ECF No. 644]. Prior to the April Status Conference, the Creditors Parties had
filed a notice holding the Creditors’ Plan in abeyance temporarily. See Notice with Respect to Creditors’ Plan [ECF
No. 643].
4
  Of the 23 ballots distributed in respect of the Creditors’ Plan, 21 ballots were returned and each returned ballot was
a vote in favor of such plan. One unreturned ballot belongs to a creditor that withdrew its claim shortly after
solicitation. The other unreturned ballot belongs to the Internal Revenue Service. See Declaration of Sara L.

                                                           2
         Case 22-33553 Document 672 Filed in TXSB on 05/17/24 Page 3 of 6




parallel to reach consensus with the Debtor regarding the terms of a liquidating chapter 11 plan.

Unfortunately, as of the filing of this Notice, no such agreement has been reached. While the

Creditor Parties remain hopeful that further discussions regarding a consensual chapter 11

liquidation will be constructive, they have determined that moving forward with the Creditors’

Plan at this time is the best way to facilitate the expeditious resolution that this Court and all parties

agree is essential.

         4.       Accordingly, the Creditor Parties intend to raise during the status conference set for

May 21, 2024 proposed next steps with respect to prosecution of the Creditors’ Plan, with

confirmation to be considered during the June 14 Hearing or on such later date as the Court deems

appropriate.5     The Creditor Parties intend to file an amended version of the Creditors’ Plan to

address certain informal comments received from the Office of the United States Trustee and to

make certain other nonmaterial modifications. In the event that the Court determines prosecution

of the Creditors’ Plan at this stage is futile or, ultimately, declines to confirm such plan, the Creditor

Parties submit that the most appropriate remaining option would be conversion of this Chapter 11

Case to a liquidation under chapter 7.

         5.       For the avoidance of doubt, the Creditor Parties reserve all rights with respect to

the Jones Plan, the Creditors’ Plan, and any plan in the FSS Case.




Brauner Regarding the Solicitation of Votes and Tabulation of Ballots and Opt-Out Forms Submitted in Connection
with the Creditors’ Non-Uniform Chapter 11 Plan of Alexander E. Jones [ECF No. 604]. By contrast, the Creditor
Parties are not aware of a single creditor that voted in favor of the Jones Plan.
5
  For the avoidance of doubt, the Creditor Parties understand that certain dates set forth in the Third Amended
Agreed Scheduling Order for Confirmation Hearing [ECF No. 652] will need to be adjusted to allow parties in
interest to prepare for and participate in any hearing to consider confirmation of the Creditors’ Plan, as appropriate.

                                                           3
        Case 22-33553 Document 672 Filed in TXSB on 05/17/24 Page 4 of 6




Dated: May 17, 2024


/s/ Marty L. Brimmage Jr.                         /s/ Ryan E. Chapple
AKIN GUMP STRAUSS HAUER & FELD LLP                CAIN & SKARNULIS PLLC
Marty L. Brimmage, Jr.                            Ryan E. Chapple
Texas Bar No. 00793386                            State Bar No. 24036354
2300 N. Field Street, Suite 1800                  303 Colorado Street, Suite 2850
Dallas, Texas 75201                               Austin, TX 78701
Telephone: (214) 969-2800                         Telephone: (512) 477-5000
Fax: (214) 969-4343                               Fax: (512) 477-5011
E-mail: mbrimmage@akingump.com                    E-mail: rchapple@cstrial.com

-and-                                             KOSKOFF KOSKOFF & BIEDER, PC
                                                  Alinor C. Sterling (admitted pro hac vice)
David M. Zensky (admitted pro hac vice)           350 Fairfield Avenue
Sara L. Brauner (admitted pro hac vice)           Bridgeport, CT 06604
Katherine Porter (admitted pro hac vice)          Telephone: (203) 336-4421
Anna Kordas (admitted pro hac vice)               E-mail: asterling@koskoff.com
Melanie A. Miller (admitted pro hac vice)
One Bryant Park                                PAUL, WEISS, RIFKIND,
New York, NY 10036                             WHARTON & GARRISON LLP
Telephone: (212) 872-1000                      Kyle J. Kimpler (admitted pro hac vice)
Fax: (212) 872-1002                            Stephanie P. Lascano (admitted pro hac vice)
E-mail: dzensky@akingump.com                   Vida Robinson (admitted pro hac vice)
E-mail: sbrauner@akingump.com                  1285 Avenue of the Americas
E-mail: kporter@akingump.com                   New York, NY 10019-6064
E-mail: akordas@akingump.com                   Telephone: (212) 373-3000
E-mail: melanie.miller@akingump.com            Fax: (212) 757-3990
                                               E-mail: kkimpler@paulweiss.com
Counsel to the Official Committee of Unsecured E-mail: slascano@paulweiss.com
Creditors of Alexander E. Jones                E-mail: virobinson@paulweiss.com

                                                  Co-Counsel to the Connecticut Plaintiffs




                                            4
      Case 22-33553 Document 672 Filed in TXSB on 05/17/24 Page 5 of 6




/s/ Avi Moshenberg
LAWSON & MOSHENBERG PLLC
Avi Moshenberg
State Bar No. 24083532
801 Travis Street, Suite 2101, #838
Houston, TX 77002
Telephone: (713) 449-9644
E-mail: avi.moshenberg@lmbusinesslaw.com

CHAMBERLAIN, HRDLICKA,
WHITE, WILLIAMS & AUGHTRY, PC
Jarrod B. Martin
State Bar No. 24070221
1200 Smith Street, Suite 1400
Houston, TX 77002
Telephone: (713) 356-1280
Fax: (713) 658-2553
E-mail: jarrod.martin@chamberlainlaw.com

WILLKIE FARR & GALLAGHER LLP
Jennifer J. Hardy
State Bar No. 24096068
600 Travis Street
Houston, TX 77002
Telephone: (713) 510-1766
Fax: (713) 510-1799
E-mail: jhardy2@willkie.com

WILLKIE FARR & GALLAGHER LLP
Rachel C. Strickland (admitted pro hac vice)
Stuart R. Lombardi (admitted pro hac vice)
Ciara A. Sisco (admitted pro hac vice)
787 Seventh Avenue
New York, NY 10019
Telephone: (212) 728-8000
Fax: (212) 728-8111
E-mail: rstrickland@willkie.com
E-mail: slombardi@willkie.com
E-mail: csisco@willkie.com

Co-Counsel to the Texas Plaintiffs




                                               5
        Case 22-33553 Document 672 Filed in TXSB on 05/17/24 Page 6 of 6




                                CERTIFICATE OF SERVICE

        I certify that on May 17, 2024, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                            /s/ Marty L. Brimmage, Jr.
                                                            Marty L. Brimmage, Jr.
